Case Z'HAihP-PQ?WWFNBMNDl’*i’é'ii‘~(i'iii\"&%i"l¥§°“ iié\‘:'°}i`i§,'f`}i ? '"‘

 

 

 

 

 

 

 

 

 

 

 

l. CIRJ'D\STJDIV. CO'DE 'Z. PERSON REFRESENTED VOUC"ER UMBER
TNW Fulier, Tommy
3. MAG. DKTJDEF. NUMB'ER 4. DIST. DKT.H]EF. NUMBER 5. A['PEALS DKTJ'D'EF. NUMBER G;LUTHER DKT. N{JN\{BER
2:04-020!91-00]
7. lN CASEJMATTER OF (Case Name) 3. PAYMENT CATEGORY 9. TYFE FERSON REPRESENTED viiing E¢SEM _ grqu 'TYFE
_z .,' _t_:e ll_srru uns -L- t ' '
U.S. v. Fulicr Felony Adult Defendant finmmal Case
ii. OFFENSE(S) CI{ ARGED (Cite U.S. Code. Titie & Scet'iutl) ll' more than one ol'l'ense. list (u'p to lived major ul'tu\scs charged. accord|l\g tn severity ofol'l'ense. _. ';' ';‘ .’;;V`:.‘ ' ‘
1) 13 922<3. F __ UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREARMS THROUGH lNTEg-srATe'ggiMJlYL§-Rt§§
H?E "i»li» ‘€~`E":.` vifi'..€m\~n<i
12. ATTORNEY'S NAME gilrst l\'ame, M.l., Last Name, including any sulme IJ. COURT ORDER n 4 l d l '
A_ND MAIL[NG ADDRE. S i.'t 0 Appnintlng Counsel [l C Cn-Counsel
MCAfee Ma]'ty l:] F Subl For Federal Del`ender U R Suhs For Retalned A!torney
’ I:l F Suhs For PanelAtlorney [] V Stlltdhy Cnunsei

246 Aciams Avenue
MCmphiS TN 38 103 Prior Attnrney's Narne:

Appnlnlmenl Dare:

 

Beeause the above-named person represented has testified under oath or has
o herwise satisfied this court that he or she il) ll iinancially unable to employ cusnsei and
(2} dues not wish tn waive counsel, and because the interests ofjustiee so require, |Ile
attorney whose name appears in llem ll is appointed to repr tthls person in this ease,

E mhrrcsrelsru{m)tim /( /WUMJ/

Telephone Numher:

14. NAME .»\ND MAlLING ADDRESS OF LAW FIRM (onl.y provide per lnstrurtionsl

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

This deem mem angered gm the CiUCi<G'L Si'ieei in Ct`.}ri'i£iiance signature uht;;i]gr}g).:_;ra\;nl omcrr ur ey order ur\n¢cmm
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15. a. Arraignment andfor Pieo
b. Baii and Detention Hearings
c. Motion Hearings
fl d. Trial
C e. Sentencing Hearings
3 f. Revocation Hearings
'[' g. Appeals Court
h. Other (Specify on additional sheets)
(Rate per hour - $ ) TOTALS:
16. a. interviews and Conferences
(ttl) b. Ohtaining and reviewing records
0 c. Legai research and brief writing
g d. 'I’ravel time
§ e. investigative and Other work (spr¢oy nn renewal norm `
{ (Rate per hour - $ ] TO'l`AI.S:
t'i. 'l'rovei Expenses (lndging, parking, mea|s. mileage, etc.)
18. Other Expenses (other than expert, transcripts. ete.)

 

 

 

 

 

 

 

 

 

l9. CERTIFICATION OF ATI`ORNEY¢'PAYEE FOR THE PERIOD O F SERV]CE 10. APPO[NTMENT TERMENAT!ON DATE Zl. CASE DISPO SmON
IF OTHER THAN CASE COMFLET!ON
FROM 10
22. C LAIM STATUS i:] Flnll Payment m interim Payment l\'umher __ i:i Supplemenll| Faym.cnt
Have you previously applied to the court for compenaatlon and!or remlmhnrsement for this else'.’ E YES m NO [l'yes, were you paid? ii YES m NO
Other than l'rum the enurt, have yon, or toyour knowledge has anyone eise, received payment (eom'pensal|on or anything ur valne'i from on)l other lour:e in connection with this
representatlun'.' YES m NO lfyes. give details on additional sheets.

I swear or affirm the truth or correctness ofthc above statements

 

 

  
   

   

    

    

 

 

 

 

 

Slg'nature ol'Attorney Date'

. IN COURT COMP. 24. OUT OF COUR'I‘ COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 1'.'. TOTAL AMT. APPR/CERT
28. SIGNATURE OF THE PRES|D|NG JUDlCiAL OFFlCER DATE lsa. JUDGE .' MAG. JUDGE CO|JE
29. [N COURT COMP. 30. OUT OF CDURT COMP. Jl. TRAVEL EXPENSES 32. OTHER EXPENSES JJ. TOTAL AMT.AP|’ROVED
34. SIGNATURE OF CH[EF JUDGE, C()URT OF APP EALS [OR DELEGATE) l’aymer\t DATE 34$. .TUDGE CODE

approved in excess ul' the statutory threshold amounl.

 

 

 

 

 

 

   

UNITED sTATE DISTRIC COURT - WESTENR D's'TRCT OFTENNESSEE

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Honcrablc J on McCalla
US DISTRICT COURT

